Case: 1:17-cv-08904 Document #: 16 Filed: 03/14/18 Page 1 of 2 Page|D #:77

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BODYGUARD PRODUCTIONS, INC., )
) Case No.: 17-cv-8904
Plaintiff, )
) Judge Robert M. Dow, Jr.
v. )
)
DoEs 1-23, )
)
Defendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DOE DEFENDANT NO. 3

 

Plaintit`f, Bodyguard Productions, Inc., pursuant to Rule 41(a)(1) of the Federal Rules of
Civil Procedure, hereby dismisses with prejudice all causes of action in the complaint against the
Doe Defendant associated with Internet Protocol address 67.163.18.223 (Doe No. 3). Each party
shall bear its own attorney’s fees and costs. Plaintiff is not dismissing any other Doe defendants at
this time.

The respective Doe Defendant has not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectii.llly submitted that dismissal under Rule
4l(a)(l) is appropriate

Respectiijlly submitted,
Dated: March 14, 2018 BODYGUARD PRODUCTIONS, INC.

By: s/Michael A. Hierl
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Case: 1:17-cv-08904 Document #: 16 Filed: 03/14/18 Page 2 of 2 Page|D #:78

CERTIFICATE OF SERVIC§

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal of Doe Defendant No. 3 was filed electronically with the Clerk of
the Court and served on all counsel of record and interested parties via the CM/ECF system on
March 14, 2018.

s/Michael A. Hierl

